Case 2:03-cv-02550-.]DB-dkv Document 14 Filed 07/13/05 Page 1 of 1_0 Page|D 9

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IN THE UNITED sTATEs DISTRICT cOURT F“£D BY‘%:*‘
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FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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JAMES RONALD PULLIAM,
Petitioner,

Cv. NO. O3-2550-B/V
Cr. NO. 93-20121-Tu

VS.
UNlTED STATES OF AMERICA,

Respondent.

>-<>-<>-<>-<>'<>-<>-<>-<>-<>-<>-<

 

ORDER DIRECTING THE PARTIES TO FILE SUPPLEMENTAL MEMORANDA
ON THE ISSUE OF DUE DILIGENCE

 

The Petitioner, James Ronald Pulliam, Bureau of Prisons
inmate registration number 04635-003, an inmate at the United
States Penitentiary in Atlanta, Georgia, filed a Qrg §§ motion
pursuant to 28 U.S.C. § 2255 on July 25, 2003, along with. a
supporting memorandum. The Court issued an order on October 23,
2003 directing the Respondent, the United States (sometimes
referred to herein as "the Government"), to respond to one claim
asserted in the motion, which it did on December 9, 2003.
Thereafter, on September 30, 2004, Pulliam filed, a document,
entitled “Request to Supplement, Under Rule 15 Federal Rules of
Criminal Procedure A Memorandum of Suuport [sic] § 2255 Petition,”
which set forth additional evidence and argument in support of his

motion. On March 4, 2005, Pulliam filed an inquiry about the status

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Case 2:03-cv-02550-.]DB-dkv Document 14 Filed 07/13/05 Page 2 of 10 Page|D 10

of his motion.l Finally, on June 27, 2005, the Clerk received a
motion by Pulliam asking that the docket be amended to reflect that
two of his prior convictions had been vacated.

On May 25, 1993, a federal grand jury returned a four-
count indictment against Pulliam arising out of an armed bank
robbery he committed in Memphis on March 12, 1993. The first count
charged the Petitioner with armed bank robbery of approximately
$68,546, in violation of 18 U.S.C. §§ 2113(a) & (d). The second
count charged him with carrying and using a firearm during a crime
of violence, in violation of 18 U.S.C. § 924(€). The third count
accused him of being a convicted felon in possession of a firearm,
in violation of 18 U.S.C. § 922(g). The fourth count charged him
with escape, in violation of 18 U.S.C. § ?51.

Pulliam entered a guilty plea to the first three counts
of the indictment, with the fourth count being dismissed pursuant
to a plea agreement. On February 3, 1994, District Judge Jerome
Turner conducted a sentencing hearing, at which time Pulliam was
found to be an armed career criminal and received concurrent terms
of two hundred, twenty' (220) months on counts l and 3 and a
consecutive term of sixty (60) months on count 2, for a total of

two hundred eighty (280) months imprisonment,2 to be followed by a

 

1 The docket sheet incorrectly describes this submission as another

motion to amend or supplement the original § 2255 motion.
2 Pursuant to § 3D1.2 of the United States Sentencing Guidelines
(“U.S.S.G.”), counts one and three were grouped.for sentencing purposes. Pursuant
(continued...)

Case 2:03-cv-02550-.]DB-dkv Document 14 Filed 07/13/05 Page 3 of 10 Page|D 11

five-year period of supervised release. Pulliam was also ordered to
pay restitution in the amount of $62,531. Judgment was entered on
March 3, 1994. The United States Court of Appeals for the SiXth
Circuit affirmed. United States v. Pulliam, No. 94-546?, 1995 WL
6215 (6th Cir. Jan. 5, 1995) (per curiam).

In his original § 2255 motion, and in the supplement
filed on September 30, 2004, Pulliam contended, inter alia, that
his sentence as an armed career criminal should be vacated because
two of the three qualifying convictions have been overturned. As
previously noted, Pulliam was sentenced as an armed career criminal
on the basis of three prior felony convictions that were obtained
in the State of Georgia. At the sentencing hearing in this case in
1994, Pulliam presented his objections to the Court's consideration
of those convictions, and his arguments were rejected on the
merits. Subsequently, on January 3, 2001, Pulliam filed a prg se
petition for a writ of habeas corpus in the Superior Court of

Fulton County, Georgia challenging the 1960 conviction for robbery

 

2 (...continued)

to U.S.S.G. § 301.3(a), the highest offense level applicable to the group shall
be used to determine the offense level for the group. In this case, in accordance
with U.S.S.G. § 4B1.4, Pulliam was designated an armed career offender due to his
conviction on count three, felon in possession of a firearm. ln so holding, the
sentencing court determined that the prisoner had three prior convictions for
violent feloniesr 18 U.S.C. §§ 924(e){1) & (2)(3), specifically¢ a 1960
conviction for robbery, a 1971 conviction for criminal attempt to commit
burglary, and a 1987 conviction for aggravated assault, all of which were
obtained in the State of Georgia. Accordingly, the base offense level was deemed
to be 34, under U.S.S.G. § 4B1.4(b)(3}(AJ. Based on the plea agreement, Pulliam
was awarded a three-point reduction for acceptance of responsibility, pursuant
to U.S.S.G. § 3E1.1, despite his escape attempt while the criminal charges were
pending, see 02/03/94 Tr. at 10, 11-20, resulting in a total offense level of 31.
Pulliam’s criminal history category was deemed to be VI, see § 4Bl.d(c)(1) & (2).
The guidelines provided a sentencing range of 188-235 months.

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Case 2:03-cv-02550-.]DB-dkv Document 14 Filed 07/13/05 Page 4 of 10 Page|D 12

on the ground that the State could not demonstrate that he
knowingly waived his rights in accordance with Bovkin v. Alabama,
395 U.S. 238 (1969}. Because most of the records concerning that
conviction were no longer in existence, the State was unable to
satisfy its burden of demonstrating that Pulliam’s guilty plea was
knowing and voluntary and, therefore, the Georgia court issued an
order on August 29, 2002 granting the writ of habeas corpus with
respect to the 1960 conviction.3 The instant § 2255 motion, filed
on July 25, 2003, raised a challenge to Pulliam’s designation as an
armed career criminal because of the invalidation of the 1960
conviction.

Although Pulliam's state habeas petition also challenged
the 1971 De Kalb County conviction for criminal attempt to commit
burglary, the Fulton County Superior Court denied relief on that
claim because “[t]he record contains certified copies of waivers as
well as the Judge's attestation that the [p]etitioner was given his
rights and voluntarily and intelligently waived them.” The inmate
appealed and, on September 13, 2004, the Georgia Supreme Court
reversed the denial of habeas corpus relief with respect to the
1971 conviction because the documents at issue did not indicate

that he was advised of, and waived his right against compulsory

 

3 Copies of that order are attached to the memorandum in support of

this § 2255 motionr which was filed on July 25, 2003, and as Exhibit 3 to the
Government’s response to the motion, which was filed on December 9, 2003.

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Case 2:03-cv-02550-.]DB-dkv Document 14 Filed 07/13/05 Page 5 of 10 Page|D 13

self-incrimination, his right to a trial by jury, and the right to
confront his accusers.4

The Armed Career Criminal7 Act, 18 U.S.C. § 924(e),
provides enhanced sentencing for individuals who violate 18 U.S.C.
§ 922(g) and who also have three previous convictions for a violent
felony or a serious drug offense. The three Georgia felony
convictions were violent felonies within the meaning of 18 U.S.C.
§ 924(e)(2)(B). Because Pulliam had the minimum three qualifying
felony convictions, the invalidation of his 1960 burglary
conviction, if credited, meant that he no longer qualified to be
sentenced as an armed career criminal under § 924(e).5

ln response to this issue, the United States first
asserts that this claim is time barred. Response to Defendant’s
Motion to Vacate Sentence Pursuant to 28 U.S.C. § 2255, filed Dec.
9, 2003 (“G. Br.”), at 4-7. The Antiterrorism and Effective Death
Penalty Act of 1996, Pub. L. No. 104-132, 110 Stat. 1214 (Apr. 24,
1996) (codified, inter alia, at 28 U.S.C. § 2244 _; §§g;)

(“AEDPA”), created a statute of limitations for filing motions

under § 2255. Because this petition was filed after April 24, 1996,

 

4 Pullian\ brought this decision, to the Court's attention in his
September 30, 2004 filing.

5 As a practical matter, the subsequent invalidation of the 1971

conviction for criminal attempt to convict burglary adds little to this analysis
because, if the invalidation of the 1960 conviction were credited, there is
apparently no dispute that Pulliam no longer qualifies as an armed career
criminal. Of course, in the event Pulliam were to receive a new sentencing
hearing, he presumably would not be assessed, criminal history points for
convictions that were invalidated.

Case 2:03-cv-02550-.]DB-dkv Document 14 Filed 07/13/05 Page 6 of 10 Page|D 14

the AEDPA is applicable. See Lindh v. Murphy, 521 U.S. 320, 336
(1997).
The relevant portion of 28 U.S.C. § 2255 provides:
A l-year period of limitation shall apply to a
motion under this section. The limitation period shall

run from the latest of-

(1) the date on which the judgment of
conviction becomes final;

(2) the date on which the impediment to
making a motion created by governmental action in
violation of the Constitution or laws of the United
States is removed, if the movant was prevented from
making a motion by such governmental action;

(3) the date on which the right asserted was
initially recognized by the Supreme Court, if that
right has been newly recognized by the Supreme
Court and made retroactively applicable to cases on
collateral review; or

(4) the date on which the facts supporting
the claim or claims presented could have been
discovered through the exercise of due diligence.
“[F]or purposes of collateral attack, a conviction

becomes final at the conclusion of direct review.” Johnson v.
United States, 246 F.3d 655, 657 (6th Cir. 2001). The Supreme Court
recently held that, for purposes of postconviction relief,
“[f]inality attaches when this Court affirms a conviction on the
merits on direct review or denies a petition for a writ of
certiorari, or when the time for filing a certiorari petition
expires.” Clay v. United States,r 537 U.S. 522, 527 (2003).

In this case, the Sixth Circuit's decision on direct

appeal was issued on January 5, 1995, and the time for filing a

Case 2:03-cv-02550-.]DB-dkv Document 14 Filed 07/13/05 Page 7 of 10 Page|D 15

petition for a writ of certiorari expired ninety days later, on
April 5, 1995. Because Pulliam's conviction became final prior to
the enactment of the AEDPA, he had a one-year grace period, until
April 24, 1997, within which to file a timely § 2255 motion. lgwg§
v. United States, 190 F.3d 468, 469 (6th Cir. 1999).

Pulliam asserts that, pursuant to T 6(4) of § 2255, the
limitations period in this case began running on “the date on which
the facts supporting the claim or claims presented could have been
discovered through the exercise of due diligence,” which, in this
case, was August 29, 2002, the date on which the Fulton County
Superior Court granted the writ of habeas corpus vacating the 1960
conviction for robbery. Petitioners [sic] initial memorandum in
support of 2255 petition, filed July 25, 2003, at l. The United
States, relying on decisions such as Brackett v. United States, 270
F.3d 60, 68 (1st Cir. 2001), argued that the one-year limitations
period for § 2255 motions began to run on the date on which the
movant learned, or with due diligence should have learned, the
facts supporting his claim to vacate the state convictions, not the
date on which the convictions were vacated. G. Br. at 5-6. If the
Government's position were accepted, I 6(4) would7 be entirely
inapplicable to this case because Pulliam knew every fact on which
he relied to vacate the two Georgia felony convictions at the time
of his sentencing in 1994. Under those circumstances, the

timeliness of this motion would be governed by I 6(1), and the

Case 2:03-cv-02550-.]DB-dkv Document 14 Filed 07/13/05 Page 8 of 10 Page|D 16

limitations period for filing a § 2255 motion expired April 24,
1997.

Since the Government's response was filed, the Supreme
Court decided in Johnson v. United States, 125 S. Ct. 1571, 1575
(2005), which held that “the {one~year limitations] period begins
when a petitioner receives notice of the order vacating the prior
conviction, provided that he has sought it with due diligence in
state court, after entry of judgment in the federal case with the
enhanced sentence.” The Court continued:

That leaves us with the question of how to implement
the statutory mandate that a petitioner act with due
diligence in discovering the crucial fact of the vacatur
order that he himself seeks. The answer is that diligence
can be shown by prompt action on the part of the
petitioner as soon as he is in a position to realize that
he has an interest in challenging the prior conviction
with its potential to enhance the later sentence.

ld. at 1580-81. Thus,

settling' on the date of judgment as the moment to
activate due diligence seems best to reflect the
statutory text and its underlying concerns. After the
entry of judgment, the subject of the § 2255 claim has
come into being, the significance of inaction is clear,
and very little litigation would be wasted, since most
challenged federal convictions are in fact sustained [on
direct appeal].

ld. at 1581. Accordingly, the running of the one-year limitations
period began to run on or about July 25, 2003 if, and only if,

Pulliam exercised due diligence in seeking the vacation of his

Case 2:03-cv-02550-.]DB-dkv Document 14 Filed 07/13/05 Page 9 of 10 Page|D 17

Georgia convictions after the entry of his criminal judgment on
March 3, 1994. §ee id; at 1582.6

Because the opinion in Johnson was issued after both
parties had submitted their briefs, the parties have not had an
opportunity to address the issue of Pulliam's due diligence.”
Accordingly, the Petitioner is ORDERED, within thirty (30} days of
the date of entry of this order, to file a supplemental memorandum
addressing the issue of his due diligence. Any factual matters
Pulliam desires to bring to the Court's attention should be
submitted in the form of a declaration under penalty of perjury
that is executed in accordance with 28 U.S.C. § 1746. Any reply the
United States seeks to file is due within thirty (30) days of the
date of filing of the Petitioner's supplemental memorandum.

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IT is so oRDaRED this (QL day of July, 2005.

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. AN:EL BREEN `\
an sTATEs DIsTRicT JUDGE

5 The Supreme Court emphasized, in a footnote, that “[o]nce a
petitioner diligently has initiated state-court proceedings, any delay in those
proceedings that is not attributable to the petitioner will not impair the
availability of the paragraph four limitation rule, once those proceedings
finally conclude.” ld; at 1582 n.8.

 

 

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Although the United States argued in its original response that this
motion was barred by laches, G. Br. at 7-8, that position was premised on the
assumption that Pulliam's obligation to seek to vacate each of his convictions
accrued on or about the time those convictions became final. The decision in
Johnson makes clear that Pulliam's obligation to act accrued only after the entry
of judgment in his federal case. Thus, the Government's brief does not directly
address the length of time that elapsed between the entry of judgment and the
filing of the Petitioner's state habeas petition, and that brief does not put
Pulliam on notice of his obligation to respond to that issue.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:03-CV-02550 Was distributed by fax, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

J ames Ronald Pulliam
USP-ATLANTA
04635-003

601 McDonough Blv. S.E.
P.O.Box150160

Atlanta, GA 30315--769

Honorable .1. Breen
US DISTRICT COURT

